               Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 1 of 9



                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID SUCKOCKI                                         :
370 Clifton Beach Road                                 :
Clifton Township, PA 18424                             :
                                                       :        CIVIL ACTION
                  Plaintiff,                           :
          v.                                           :        No.:
                                                       :
FEDEX FREIGHT, INC                                     :
174 FedEx Drive                                        :
Pocono Summit, PA 18346                                :        JURY TRIAL DEMANDED
       and                                             :
FEDEX CORPORATION                                      :
942 South Shady Grove Road                             :
Memphis, TN 38120                                      :
                                                       :
                  Defendants.                          :
                                                       :

                                       CIVIL ACTION COMPLAINT

          Plaintiff, David Suchocki (hereinafter referred to as “Plaintiff”), by and through his

undersigned counsel, hereby avers as follows:

                                               INTRODUCTION

          1.      Plaintiff has initiated this action to redress violations by FedEx Freight, Inc. and

FedEx Corporation (hereinafter collectively referred to as “Defendants”) of the Americans with

Disabilities Act, as amended (“ADA” - 42 USC §§ 12101 et. seq.), the Family and Medical Leave

Act (“FMLA”- 29 USC § 2601), and the Pennsylvania Human Relations Act (“PHRA”).1 Plaintiff

was unlawfully terminated by Defendants, and he suffered damages more fully described/sought

herein.



1
  Plaintiff’s claims under the PHRA are referenced herein for notice purposes. He is required to wait 1 full year before
initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file his lawsuit in advance of same
because of the date of issuance of his federal right-to-sue-letter under the ADA. Plaintiff’s PHRA claims however
will mirror identically his federal claims under the ADA.
             Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 2 of 9



                                  JURISDICTION AND VENUE

        2.      This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks

redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff’s state-

law claims because they arise out of the same common nucleus of operative facts as Plaintiff’s

federal claims asserted herein.

        3.      This Court may properly assert personal jurisdiction over Defendants because their

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendants to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.      Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this district

because Defendants are deemed to reside where it is subjected to personal jurisdiction, rendering

Defendants residents of the Middle District of Pennsylvania.

        5.      Plaintiff is proceeding herein (in part) under the ADA after properly exhausting all

administrative remedies with respect to such claims by timely filing a Charge of Discrimination

with the Equal Employment Opportunity Commission (“EEOC”) and by filing the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the EEOC

                                              PARTIES

        6.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.      Plaintiff is an adult individual, with an address set forth in the caption.




                                                   2
             Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 3 of 9



        8.      FedEx Corporation is an American multination delivery services corporation

providing shipping, packaging, and tracking through several subsidiaries, including but not limited

to FedEx Freight, Inc. FedEx Corporation is headquartered at the address set forth in the above-

caption.

        9.      FedEx Freight, Inc., a subsidiary of FedEx Corporation, provides truckload delivery

services in several states throughout the United States (including in Pennsylvania). Plaintiff was

hired through and worked out of the FedEx Freight, Inc. facility located at the address set forth in

the above caption.

        10.     Because of their interrelation of operations, common ownership or management,

centralized control of labor relations, common ownership or financial controls, and other factors

Defendants are sufficiently interrelated and integrated in their activities, labor relations,

ownership, and management that they may be treated as a single and/or joint employer for purposes

of the instant action.

        11.     At all times relevant herein, Defendants acted by and through their agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

                                  FACTUAL BACKGROUND

        12.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        13.     Plaintiff has been employed with Defendants for approximately 20 years, from in

or about February of 2000 until his unlawful termination (discussed further infra) on or about May

4, 2020.




                                                  3
           Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 4 of 9



        14.      At the time of Plaintiff’s termination, he was working as a Fleet Maintenance

Manager, overseeing approximately 25 employees.

        15.      Plaintiff was primarily supervised by Regional Fleet Maintenance Manager,

Gregory Moser (hereinafter “Moser”).

        16.      Throughout his tenure with Defendants, Plaintiff was a hard-working employee

who performed his job well.

        17.      For the last several years of his employment with Defendants, Plaintiff had and

continues to suffer from several disabilities, including but not limited to anxiety and depression

(and other complications), for which he took medication and treated with a physician. At all times

relevant hereto, Moser was aware of Plaintiff’s health conditions.

        18.      As a result of his aforesaid disabilities, Plaintiff suffered from sleeplessness,

fatigue, panic, and feelings of hopelessness, which (at times) limited his ability to perform some

daily life activities, including but not limited to sleeping, concentrating, and working (among other

daily life activities).

        19.      Despite his aforementioned health conditions and limitations, Plaintiff was still able

to perform the essential duties of his job well with Defendants; however, Plaintiff did require

reasonable medical accommodations at times (discussed further infra).

        20.      For example, toward the end of his employment with Defendants, Plaintiff began

to suffer side effects and symptoms from a change in medication for his aforesaid disabilities. As

a result, Plaintiff requested and was approved for a brief FMLA leave from on or about April 9,

2020 until on or about May 4, 2020.




                                                   4
           Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 5 of 9



       21.     During his approximate 4-week medical leave, Plaintiff provided Defendants’

management with periodic updates regarding the status of his aforesaid medical conditions,

including his return to work date.

       22.     Plaintiff was cleared by his physician to return to work full duty on or about May

4, 2020.

       23.     Upon Plaintiff’s return from FMLA leave on or about May 4, 2020, he was

instructed to come in early to meet with Moser, wherein he was abruptly terminated allegedly for

“dishonesty.” Plaintiff had no idea what Defendants were referring to, and when he inquired as to

how he had been dishonest, Moser refused to provide Plaintiff with any details.

       24.     Defendants had admonished Plaintiff for a Facebook post one month prior

regarding the Covid-19 pandemic, but Plaintiff was not in violation of any policies and other

supervisors and employees have posted Covid-19 concerns on Facebook and have not been

disciplined or terminated for same.

       25.     Plaintiff believes and therefore avers that Defendants’ management was looking for

any reason to terminate Plaintiff because of his disabilities and for requesting a brief medical leave

for same, because Plaintiff did not violate any policies while working for Defendants, did not

engage in any “dishonesty,” and does not have a history of progressive discipline while working

for Defendants.

       26.     Plaintiff believes and therefore avers that he was terminated because of (1) his

known and/or perceived disabilities; (2) his record of impairment; (3) his requested

accommodations; and/or (4) Defendants’ failure to properly accommodate Plaintiff by failing

reinstate Plaintiff to the same or similar position he held prior to his FMLA leave or keep his

position open during his approximate four-week medical leave.



                                                  5
                 Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 6 of 9



                                                 COUNT I
                  Violations of the Americans with Disabilities Act, as Amended (“ADA”)
([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation; and [3] Failure to Accommodate)
                                         -Against Both Defendants-

               27.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

       full.

               28.    Plaintiff suffered from qualifying health conditions under the ADA which affected

       his ability (at times) to perform some daily life activities including, but not limited to sleeping,

       concentrating, and working (among other daily life activities).

               29.    Plaintiff kept Defendants’ management informed of his serious health conditions

       and need for medical treatment throughout his tenure with Defendants.

               30.    Despite Plaintiff’s aforementioned health conditions and limitations, he was still

       able to perform the duties of his job well with Defendants; however, Plaintiff did require

       reasonable medical accommodations at times.

               31.    Plaintiff requested reasonable accommodations from Defendants, including but not

       limited to a brief medical leave to care for and treat his aforesaid health conditions.

               32.    Plaintiff was terminated from Defendants on or about May 4, 2020, shortly after

       requesting and/or utilizing reasonable medical accommodations, and immediately upon

       attempting to return to work from his medical leave of absence.

               33.    Upon Plaintiff’s information and belief, Defendants failed to accommodate

       Plaintiff by failing to reinstate him to the same or similar position upon his return from medical

       leave and/or hold his position open during his approximate four-week medical leave of absence.

               34.    Plaintiff believes and therefore avers that he was terminated by Defendants due to

       (1) his known and/or perceived disabilities; (2) his record of impairment; (3) his requested

       accommodations; and/or (4) Defendants’ failure to properly accommodate Plaintiff.

                                                         6
          Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 7 of 9



        35.    These actions as aforesaid constitute violations of the ADA.

                                          COUNT II
                 Violations of the Family and Medical Leave Act (“FMLA”)
                             ([1] Retaliation & [2] Interference)
                                  -Against Both Defendants-

        36.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        37.    Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        38.    Plaintiff requested leave from Defendants, his employers, with whom he had been

employed for at least twelve months pursuant to the requirements of 29 U.S.C.A § 2611(2)(i).

        39.    Plaintiff had at least 1,250 hours of service with Defendants during his last full year

of employment.

        40.    Defendants are engaged in an industry affecting commerce and employ fifty (50)

or more employees for each working day during each of the twenty (20) or more calendar work

weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

        41.    Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a

total of twelve (12) work weeks of leave on a block or intermittent basis.

        42.    Plaintiff was terminated in close proximity to his request for/utilization of block

FMLA leave to care for and treat his serious health conditions and immediately upon his attempt

to return from FMLA leave.

        43.    Defendants committed interference and retaliation violations of the FMLA by: (1)

terminating Plaintiff for requesting and/or exercising hos FMLA rights and/or for taking FMLA-

qualifying leave; (2) considering Plaintiff’s FMLA leave needs in making the decision to terminate

him; (3) terminating Plaintiff to intimidate him and/or prevent him from taking FMLA-qualifying

                                                 7
            Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 8 of 9



leave in the future; and/or (4) engaging in conduct which discouraged Plaintiff from exercising his

FMLA rights and which would discourage, dissuade and/or chill a reasonable person’s desire to

request and/or take FMLA leave; and (5) failing to reinstate Plaintiff to the same or similar position

upon his return from FMLA leave.

       44.     These actions as aforesaid constitute violations of the FMLA.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

       B.      Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay increases,

bonuses, insurance, benefits, training, promotions, reinstatement and seniority;

       C.      Plaintiff is to be awarded punitive and/or liquidated damages, as permitted by

applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish

Defendants for their willful, deliberate, malicious and outrageous conduct and to deter Defendants

or other employers from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation); and

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

       F.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.




                                                  8
         Case 3:20-cv-01048-CCC Document 1 Filed 06/23/20 Page 9 of 9




                                          Respectfully submitted,

                                          KARPF, KARPF & CERUTTI, P.C.

                                    By:   _______________________________
                                          Ari R. Karpf, Esq.
                                          3331 Street Rd.
                                          Two Greenwood Square, Suite 128
                                          Bensalem, PA 19020
                                          (215) 639-0801
Dated: June 23, 2020




                                      9
